                  Case 1-21-41212-jmm                         Doc 38       Filed 10/21/22              Entered 10/22/22 00:08:48


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 21-41212-jmm
Cushnie, LLC                                                                                                           Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                Page 1 of 4
Date Rcvd: Oct 19, 2022                                               Form ID: pdf002                                                         Total Noticed: 106
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 21, 2022:
Recip ID                 Recipient Name and Address
db                     + Cushnie, LLC, 294 Herkimer Street, Brooklyn, NY 11216-2611
intp                   + Bankruptcy Estate of Carly Cushnie, Law Offices of Gregory Messer, 26 Court St, Suite 2400, Brooklyn, NY 11242-1124
cr                     + Hilldun Corporation, c/o Lowenstein Sandler LLP, Attn: Bruce S. Nathan, Esq., 1251 Avenue of the Americas, New York, NY 10020
                         UNITED STATES 10020-1104
9967494                + 251 West 39th Street Realty Co, c/o East End Capital Partners, 600 Madison Ave., 11th Fl., New York, NY 10022-1615
9967495                + 47 Pictures, Inc, 1802 N. Wilton Place #2, Los Angeles, CA 90028-5728
9967496                + A&H Couture, 260 W 36th St., 7th Floor, New York, NY 10018-7560
9967497                + Absolute Couture Inc., 247 W. 37th St., Suite 202, New York, NY 10018-5084
9967498                + Acadaca, LLC, 2 University Plaza, Suite 100, PMB 1062, Hackensack, NJ 07601-6210
9967499                + Accurate Patterns, Inc, 246 West 38th Street, New York, NY 10018-5856
9967500                + Admiral Courier Services, 18 West 30th Street, 3rd Floor- Suite 4, New York, NY 10001-4447
9967502                + American Express (Plum), ADR c/o CT Corp System, 28 Liberty Street, New York, NY 10005-1400
9967503                  Ascot Fashions, No-9, AC Mkt, Tardeo, Mumbai-400034, India
9980513                + Bankruptcy Estate of Carly Cushnie, c/o Bruce Weiner, Esq., Rosenberg Musso & Weiner, LLP, 26 Court Street, Suite 2211, Brooklyn,
                         New York 11242-1122
9967504                + Bauer Office Solutions, 144 East 44th Street, 6th Fl, New York, NY 10017-4090
9967505                + Bergen Logistics, 5903 West Side Avenue, North Bergen, NJ 07047-6451
9967506                + Bergen Shippers Corp, 5903 West Side Ave, North Bergen, NJ 07047-6451
9967508                + Bruce Nathan, Esq., Lowenstein Sandler, LLP, 1251 Avenue of the Americas, New York, NY 10020-1104
9984730                + Calzaturificio Carisma, Meyers Saxon & Cole, 3620 Quentin Road, Brooklyn, NY 11234-4238
9967509                  Calzaturifico Carisma Sr, ViaPoggio Alla Malva 8/10, 50055 Malmantile, Lastra A Signa, IT 50055
9967510                + Canon Financial CFS, 14904 Collections Center Drive, Chicago, IL 60693-0149
9967511                + Carly Cushnie, 294 Herkimer St., Brooklyn, NY 11216-2611
9967512                  Chiuma & Co., Ltd, 3-3-10 Awajimachi, Chuo-ku, Osaka, Japan, 541-0047, JP - JAPAN
9967513                + Cindy & Kevin Studio, 327 West 36th St., 2nd Floor, New York, NY 10018-6405
9967516                + ConEdison, Jaf Station, PO Box 1702, New York, NY 10116-1702
9967514                  Conceria A. Tema Srl, Via Dell Industria, 76/78/80, Castelfranco, DiSotto, IT 56022
9967515                  Conceria Tre Emme S.r.l, Via Guglielmo Marconi, 3/1, 36050 Zermeghedo (VI) ITALY
9967517                + Cozen O'Connor, 277 Park Avenue, New York, NY 10172-0003
9967518                + Cushnie Holdings, LLC, 294 Herkimer Street, Brooklyn, NY 11216-2611
9967519                + Cushnie Trademark, LLC, 294 Herkimer Street, Brooklyn, NY 11216-2611
10005239                 Cushnie, LLC, c/o Michelle Ochs, 10S West 8th Street, Bayonne, NJ 07002
9967520                  Dogi Spain, Carretera Cami del Mig, s/n Poligono PP12 El Masnou, Barcelona, Spain 08320
9967522                + El Toro Interactive, LLC, 2 University Plaza, Suite 100 PMB 1063, Hackensack, NJ 07601-6210
9967523                + Elite Model Management, 245 Fifth Avenue, 24th FL, New York, NY 10016-8728
9967524                + Exhibit A, LLC, 1287 N. Crescent Heights Blvd, Unit D, Los Angeles, CA 90046-5022
9967525                + Fashion Fit Models LLC, P.O. Box 261, New York, NY 10113-0261
9967526                  FedEx, P.O. Box 371461, Pittsburgh, PA 15250-7461
10011296                 Fedex Corporate Services Inc, 3965 Airways Blvd, Module G, 3rd Floor, Memphis, TN 38116-5017
9967527                + Green-Ungar Capital Mgmt, c/o East End Realty, 600 Madison Ave, 11th fl, New York, NY 10022-1615
9967528                + Guide Fabrics, 262 West 38th Street, New York, NY 10018-1537
10006611               + HSBC Bank USA, National Association, 545 Washington Boulevard, Jersey City, NJ 07310-1607, Attn: Matthew Tresslar
9967529                + Hand Baldachin & Associates, 1740 Broadway, 15th Floor, New York, NY 10019-4605
9975383                + Hilldun Corporation, c/o Lowenstein Sandler LLP, Attn: Bruce S. Nathan, Esq., 1251 Avenue of the Americas, New York, NY 10020-1104
9967530                  Hilldun Corporation, 255 West 35th Street, New York, NY 10001
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10102576               + Hilldun Corporation, 36 East 31st Street, 12th Floor, New York, NY 10016-6821, Attn: Gary A. Wasser
9967532                  Industrias del Curtido S., Avda de Alicante, s/n, 46460 Silla (Valencia), ES - SPAIN
9967533                  Inwool Jersey, Via Strozzi, 41, 59013 Montemurlo (PO) ITALY
9967534                  JACKYTEX, Ind. Tessile Della Maglia, Terranuova Bracciolini (AR), 52028, IT - ITALY
9967535                + Karla Otto, 475 10th Ave, 4th Floor, New York, NY 10018-9723
9967536                + Kay's Pattern, 252 West 38th St., Suite 702, New York, NY 10018-9260
9967537                  La Perla, Via Livornese 71/73, Empoli (Firenze), ITALY 50053
9967538                + Labels Inter-Global, Inc, 109 West 38th Street, Suite #701, New York, NY 10018-3673
9967539                + Lamprey Systems, 60 West Broad Street, Suite 301, Bethlehem, PA 18018-5721
9967540                + Lineapiu Italia, 1384 Broadway, Rm #301, New York, NY 10018-0537
9967541                + Luke Dickey, NKLD Inc., 48 Kinney Street, Piermont, NY 10968-1016
9967542                  Manifatture Tessili Bianc, 22071 Cadorago (Co), via Diaz, Registri Imprese di Como, 175953 ITALY
9967543                  Maruska S.R.L., Via Prov.le Frencesca, 44/29-44/30, 56020, Santa Maria A. Monte, IT
9967544                  Meridian Customs, 15-02 132nd Avenue, 2nd floor, Jamaica, NY 11434
9967545                + Michael Buxbaum, Esq., Lowenstein Sandler, LLP, 1251 Avenue of the Americas, New York, NY 10020-1104
10103064               + Michelle Ochs, c/oTraurig Law LLC, Attn: Jeffrey Traurig, One University Plaza, Ste 124, Hackensack, NJ 07601-6242
9967547                  Naser Tanning Company, No 10 Kumarappa Street, Periamet, Chennai, Tamil Nadu, 600003, INDIA
9984557                  Non Stop, 16801 Rockaway Blvd Ste 200, Jamaica, NY, 11434-5287
9984639                  Non-Stop Express International, 16801 ROCKAWAY BLVD., STE 200, JAMAICA, NY 11434-5287
9967549                + Oglethorpe, Inc, 8383 Wilshire Blvd, Suite 1000, Beverly Hills, CA 90211-2439
9967550                + Ogletree, Deakins, 50 International Drive, Patewood IV, Suite 200, Greenville, SC 29615-4808
9967551                + One Model Management, LLC, 42 Bond Street, 2nd Floor, New York, NY 10012-2768
9967552                  Open Text, Inc, c/o J.P. Morgan Lockbox, 24685 Network Place, Chicago, IL 60673-1246
9975095                  Opentext, 275 Frank Tompa Drive, Waterloo, ON, N2L 0A1
9967553                + Orchard Mile, 133 West 19th St., Fl 6, New York, NY 10011-4117
9967554                  P.L. Wong & Co., Ltd, Unit 03, 4/F Vanta Indus. Ctr, 21-33 Tai Lin Pai Road, Kwai Chung, Hong Kong
9967556                + PC Fashion Inc., 327 West 36th Street, Suite 3A, New York, NY 10018-7014
9967555                  Paoli Riccardo s.r.l, Via di Castel Pulci, 9/B, Scandicci (FI), 50018, IT ITALY
9967557                + Peter Marcus Group, LLC, 37 Willowmere Circle, Riverside, CT 06878-2503
9967558                + Platform 11211, Inc, 302 Bedford Avenue #133, Brooklyn, NY 11249-4238
9984729                + Robert Saxon, Esq., c/o Meyers Saxon & Cole, 3620 Quentin Road, Brooklyn, NY 11234-4204
9967559                + Sabanna Fashion J. Inc., 247 W 38th St., 8th floor, New York, NY 10018-4447
9967560                  Sgl Filati, Sede Legale e Amministrativa, Via B Marcora 121010, ITALY
9967561                + Shoot Food NY LLC, 214 Columbia Street, Brooklyn, NY 11231-1430
9967562                  Silkomo SRL, Strada Statale Briantea, 10, Tavernerico (CO),, 22038, IT - ITALY
9967563                + South Street Seaport Limo, 13355 Noel Road, 22nd Floor, Dallas, TX 75240-6602
9967564                + State Artist Management, 525 7th Avenue, Suite 904, New York, NY 10018-0462
9967565                + Stoll, 250 West 39th Street, New York, NY 10018-4414
9967566                + T&M Delivery Corp, 28 Garfield Place, South Hackensack, NJ 07606-1957
10088411                 TAEWOO FABRIC.CO.,LTD, #305 ART PLAZA 732-1, CHOCI DONG, DANWON-GU, ANSAN, KOREA (REPUBLIC),
                         82-10-5524-4061
9967573                + TWS International, Inc, 179-14 149th Road, 2nd floor, Jamaica, NY 11434-5612
9967567                  Taewoo Fabric Co., Ltd, #305, Art Plaza, 732-1, Choji-Dong, Danwon-Gu, Ansan-S, Gyeonggi-Do, Korea
9967568                  Tessitura Uboldo Luigi sr, Via della Cerca 9/11,, 22070 Lurago Marinone (CO), ITALY
9967569                + The Benefit Practice, 1055 Washington Blvd., Ste 610, Stamford, CT 06901-2218
9967570                + Tiger Button Co., Inc, 307 W 38th Street, 4th floor, New York, NY 10018-0125
9967571                + Time Warner Cable, Box 223085, Pittsburgh, PA 15251-2085
9967572                + Todd Higgins, Esq., Crosby & Higgins LLP, 140 Broadway, 46th Floor, New York, NY 10005-1155
9967575                + UNG 1 Realty, LLC, 600 Madison Ave., New York, NY 10022-1615
9967574                + Uli Wagner LLC, 279 Vanderbilt Avenue, Brooklyn, NY 11205-4104
9967576                + Union Square Couture, 5 East 16th Street, 4th floor, New York, NY 10003-3112
9967579                + Vogue Too, 265 W. 37th Street, 14th floor, New York, NY 10018-5714
9967580                  Waste Connections, PO Box 660654, Dallas, TX 75266-0654
9967581                + Wilyfoxx Collective, Inc, 60 Broad Street, 24th floor, New York, NY 10004-2342

TOTAL: 96

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                        Oct 19 2022 18:20:00      NYC Department of Finance, 345 Adams Street,
                                                                                                                  Office of Legal Affairs, Brooklyn, NY 11201-3739
                 Case 1-21-41212-jmm                    Doc 38          Filed 10/21/22           Entered 10/22/22 00:08:48


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Date Rcvd: Oct 19, 2022                                             Form ID: pdf002                                                    Total Noticed: 106
smg                   + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Oct 19 2022 18:20:00     NYS Department of Taxation & Finance,
                                                                                                            Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                            12205-0300
smg                   + Email/Text: labor.sm.ui.bankruptcy@labor.ny.gov
                                                                                   Oct 19 2022 18:20:00     NYS Unemployment Insurance, Attn: Insolvency
                                                                                                            Unit, Bldg. #12, Room 256, Albany, NY
                                                                                                            12240-0001
smg                   + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                   Oct 19 2022 18:20:00     Office of the United States Trustee, Eastern
                                                                                                            District of NY (Brooklyn Office), U.S. Federal
                                                                                                            Office Building, 201 Varick Street, Suite 1006,
                                                                                                            New York, NY 10014-4811
9967501                  Email/PDF: bncnotices@becket-lee.com
                                                                                   Oct 19 2022 18:24:37     American Express (Corporate), P.O. Box 1270,
                                                                                                            Newark, NJ 07101-1270
10077722              + Email/Text: bkfilings@zwickerpc.com
                                                                                   Oct 19 2022 18:20:00     American Express Travel Related Services Co.,
                                                                                                            Inc., c/o Zwicker and Associates, P.C.,
                                                                                                            Attorneys/Agents for Creditor, P.O. Box 9043,
                                                                                                            Andover, MA 01810-0943
9967507               + Email/Text: bkfilings@zwickerpc.com
                                                                                   Oct 19 2022 18:20:00     Brandon G. Stanislaus, Esq., Zwicker &
                                                                                                            Associates, P.C., 1551 S. Washington Ave-Ste
                                                                                                            404, Piscataway, NJ 08854-6700
9967531               + Email/Text: BNCNOTICES@noexternalmail.hsbc.com
                                                                                   Oct 19 2022 18:20:00     HSBC, 452 Fifth Avenue, New York, NY
                                                                                                            10018-2790
10079228                 Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Oct 19 2022 18:20:00     New York State Department of Taxation &
                                                                                                            Finance, Bankruptcy Section, P O Box 5300,
                                                                                                            Albany New York 12205-0300
9967578               + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Oct 19 2022 18:20:00       Verizon, PO Box 15124, Albany, NY 12212-5124

TOTAL: 10


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason    Name and Address
9984638         *+               Hand Baldachin & Associates, 1740 Broadway, 15th Floor, New York, NY 10019-4605
9967521         ##+              East End Capital, 600 Madison Ave, New York, NY 10022-1685
9967546         ##+              Michelle Ochs, 105 West 8th St., Bayonne, NJ 07002-1202
9967548         ##+              Non-Stop Express Int'l, 10-39 44th Drive, Long Island City, NY 11101-7013
9973127         ##+              Orchard Mile, 18 W 18th St. #F6, New York, NY 10011-4652
9967577         ##+              Velasco Couture, 347 W 36th Street Suite 1403, New York, NY 10018-7084

TOTAL: 0 Undeliverable, 1 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 21, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
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The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 18, 2022 at the address(es) listed
below:
Name                                  Email Address
Alex E. Tsionis
                                      on behalf of Trustee David J. Doyaga atsionis@ajrlawny.com
                                      arosen@ajrlawny.com;ddobbin@ajrlawny.com;npizzo@ajrlawny.com;emeade-bramble@ajrlawny.com

Bruce Weiner
                                      on behalf of Interested Party Bankruptcy Estate of Carly Cushnie courts@nybankruptcy.net bweiner@nybankruptcy.net

Bruce S Nathan
                                      on behalf of Creditor Hilldun Corporation bnathan@lowenstein.com jprol@lowenstein.com;cmaker@lowenstein.com

David J. Doyaga
                                      david.doyaga.sr@gmail.com NY98@ecfcbis.com,theresa@doyagalawfirm.com

Douglas A Goldstein
                                      on behalf of Debtor Cushnie LLC dgoldstein@selawfirm.com, bspector@selawfirm.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov

The Law Offices of Avrum J. Rosen, PLLC
                                on behalf of Trustee David J. Doyaga arosen@ajrlawny.com
                                atsionis@ajrlawny.com;npizzo@ajrlawny.com;emeade-bramble@ajrlawny.com;ddobbin@ajrlawny.com


TOTAL: 7
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